ATTACHMENT 1 VU.S. Bi:svi' ' ‘j' z

E;A$¥"£Riiv z 1. ;§~§’ii
COMPLAINT FORM zola JuL z . §§ 10
(for filers Who are prisoners Without lawyers)JDR w 5 . §§le
C m._,&§@

UNITED STATES DISTRICT COURT v l
EASTERN DISTRICT OF WISCONSIN

 

(Full name of plaintiff(s))

;OBDH)\/ i/z ii
01 Lt § N viii iv
§ iii/vii iv§§»§ mm §§§§§

 

 

 

 

Case Num§er
6°0*0995
(Full name of defendant(S))

TQ §§ §F;P§Yz£i%“ im C? FSHPMWN (to be Suppiied by Cieri< Of Court)
jbl N 6 l
ii ?`C iiier FR@D§R )”§»%S/, § i“§:¢ii§§§§ \/i'm. §§ w § §§

A. PARTIES

 

   

 

 

. l \
1. Plaintiff is a citizen of W| § QON 5 i N , and is located at
(State)

q viii N via/v M)§W§§fz , W.z §§§§§

(Address of prison Or jail)

 

(If more than one plaintiff is filing, use another piece of paper.)
Attachment One (Complaint) - 1

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\ k (Name) y
is (if a person or private corporation) a citizen of W§ SC@NSJ }\}
r\ 7 X (State, if know )
and (if a person) resides at mo LWAW )i% §§ if §§ ‘:D+€’?T/ b ¥(STB?@T§”L§
(Address, if knoWn)

and (if the defendant harmed you While doing w%\defendmt'$ job)

Workedror … &LWWV\/\KQ;§;/ ©MCQM

(Ernployer'S name and address, if known)

 

(If you need to list more defendants, use another piece of paper.)
B. STATEMENT GF CLAIM

' On the space provided on the following pages, tell:

1. Who Violated your rights;

2. What each defendant did;

3. When they did it;

4. Where it happened; and

5. Why they did it, if you know.

    

  

 

 

 

 

 

 

 

 

 

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Attachrnent Gne (Complaint) - 3

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]URISDICTION

l am suing for a Violation of federal law under 28 U.S.C. § 1331.
OR

:] I am suing under state law. ”[he state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant and the amount of
money at stake in this case (not counting interest and costs) is

$
RELIEF WANTED

Describe What you Want the Court to do if you Win your lawsuit Exampies may
include an award of money or an order telling defendants to do something or to
stop do` g something.b

 

   

 

 

 

 

 

 

 

 

 

Attachment One (Complaint) - 4

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E. ]URY DEMAND

[:] ]ury Demand - l want a jury to hear my case. '
OR

Court Trial - l want a judge to hear my case.

 

l declare under penalty of perjury that the foregoing is true and correct.

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Complaint signed this y day of \> U’ l!';`/ 20 557 .

Respectfully Submitte,

// v.,

Slgnature of’Plaintiff .7’”‘! MQ`

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Plaintiff's Prisoner ID Number

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_ (l\/Iailing Address of Plaintiff)

 

 

 

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

W I DO request that I be allowed to file this complaint without paying the filing fee.
l have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint

[l IDO NOT request that l be allowed to file this complaint without prepaying the

filing fee under 28 U.S.C. § 1915, and Ihave included the full filing fee with this
complaint

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